Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 1 of 9




            Exhibit F
                     to Hawkins Declaration

                Plaintiffs’ Motion for Class Certification


 Michelo et al. v. Nat’l Collegiate Student Loan Trust 2007-2 et al., No. 18-CV-1781
  Bifulco et al. v. Nat’l Collegiate Student Loan Trust 2004-2 et al., No. 18-CV-7692
        Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 2 of 9
                                     Joel Leiderman
                                   February 19, 2021

·

·   ·   ·   ·   ·UNITED STATES DISTRICT COURT
·   ·   ·   ·   ·SOUTHERN DISTRICT OF NEW YORK
·   ·   ·   ·   ·-------------------------------------------X
·   ·   ·   ·   ·MUTINTA MICHELO, KATHERINE SEAMAN, and
·   ·   ·   ·   ·MARY RE SEAMAN, individually and on
·   ·   ·   ·   ·Behalf of all others similarly situated,
·
·   · · · · · · · · · · · · Plaintiff,
·
·   · · · · · · · · · · · · Index no. 18-cv-1781 (PGG)
·
·   · · · · · · · · · ·v.
·
·   ·   ·   ·   ·NATIONAL COLLEGIATE STUDENT LOAN TRUST
·   ·   ·   ·   ·2007-2; NATIONAL COLLEGIATE STUDENT LOAN
·   ·   ·   ·   ·TRUST 2007-3; TRANSWORLD SYSTEMS, INC.,
·   ·   ·   ·   ·in its own right and as successor to NCO
·   ·   ·   ·   ·FINANCIAL SYSTEMS, INC.; EGS FINANCIAL
·   ·   ·   ·   ·CARE INC., formerly known as NCO
·   ·   ·   ·   ·FINANCIAL SYSTEMS, INC.; and
·   ·   ·   ·   ·FORSTER & GARBUS LLP,

·   ·   ·   ·   · · · · · · · · · Defendants.
·   ·   ·   ·   ·-------------------------------------------X
·   ·   ·   ·   ·CHRISTINA BIFULCO, FRANCIS BUTRY, and
·   ·   ·   ·   ·CORI FRAUENHOFER, individually and on
·   ·   ·   ·   ·Behalf of all others similarly situated,

· · · · · · · · · · · · · Plaintiffs,

· · · · · · · · · · · · · Index no. 18-cv-7692 (PGG)

· · · · · · · · · · ·v.

·   ·   ·   ·   ·NATIONAL COLLEGIATE STUDENT LOAN TRUST
·   ·   ·   ·   ·2004-2; NATIONAL COLLEGIATE STUDENT LOAN
·   ·   ·   ·   ·TRUST 2006-4; TRANSWORLD SYSTEMS, INC.,
·   ·   ·   ·   ·in its own right and as successor to NCO
·   ·   ·   ·   ·FINANCIAL SYSTEMS, INC; EGS FINANCIAL
·   ·   ·   ·   ·CARE INC., formerly known as NCO
·   ·   ·   ·   ·FINANCIAL SYSTEMS, INC.; and
·   ·   ·   ·   ·FORSTER & GARBUS LLP,
·
·   ·   ·   ·   · · · · · · · · · Defendants.
·   ·   ·   ·   ·-------------------------------------------X
·   ·   ·   ·   · · · ·DEPOSITION OF JOEL LEIDERMAN
·   ·   ·   ·   · · · · · · ·February 19, 2021


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   Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 3 of 9
                                Joel Leiderman
                              February 19, 2021

·1· · · · · · · · · · · ·J. Leiderman

·2· · · ·correct?

·3· · · · · · A.· ·Well, that's what it says.

·4· · · · · · Q.· ·I'm going to go to Exhibit 5,

·5· · · ·that's dated February 2013, correct?

·6· · · · · · A.· ·Correct.

·7· · · · · · Q.· ·Were there manuals for media

·8· · · ·ordering different than these two between

·9· · · ·those dates?

10· · · · · · · · ·MR. NOVIKOFF:· Objection.

11· · · · · · A.· ·I'm not aware of it, but, you know,

12· · · ·if they weren't produced, then I have no

13· · · ·idea.

14· · · · · · Q.· ·Stop sharing for one second.

15· · · · · · · · ·I'm going to go to -- still in

16· · · ·Exhibit 5, Bates TSI 2103.· Do you see the

17· · · ·spot that says, Client Pcode availability

18· · · ·table?

19· · · · · · A.· ·I do, yes.

20· · · · · · Q.· ·I'm going to tighten up on that top

21· · · ·part of the page for you.

22· · · · · · A.· ·Okay.· I do, yes.· Right.

23· · · · · · Q.· ·On the upper left-hand side, it

24· · · ·says, ANS clients.

25· · · · · · · · ·What does ANS mean?


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   Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 4 of 9
                                Joel Leiderman
                              February 19, 2021

·1· · · · · · · · · · · ·J. Leiderman

·2· · · · · · A.· ·I do not know the meaning of that

·3· · · ·offhand.

·4· · · · · · Q.· ·And had you ever heard of an

·5· · · ·Attorney Network Service?

·6· · · · · · A.· ·Yes, that rings a bell, yes.

·7· · · · · · Q.· ·And what does it ring a bell in

·8· · · ·your mind in connection with TSI and National

·9· · · ·Collegiate?

10· · · · · · A.· ·You know, I know it, I'm familiar

11· · · ·with that name, but I can't quite put my

12· · · ·finger on it, whether it was an attorney

13· · · ·network of sorts that TSI engaged.· I'm not

14· · · ·sure, but I know I've heard of it.

15· · · · · · Q.· ·Okay.· These clients that are

16· · · ·listed, are they clients that Forster had?

17· · · · · · A.· ·I'm not sure if those are specific

18· · · ·as to Foster or general -- other TSI clients

19· · · ·that Foster did not handle.

20· · · · · · Q.· ·Okay.· And I see that some of them

21· · · ·are redacted, but I want to focus on the one

22· · · ·in the middle where it says, FMH/National

23· · · ·Collegiate Trust.

24· · · · · · · · ·Do you see that?

25· · · · · · A.· ·I do.


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   Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 5 of 9
                                Joel Leiderman
                              February 19, 2021

·1· · · · · · · · · · · ·J. Leiderman

·2· · · · · · Q.· ·What is FMH?

·3· · · · · · A.· ·I don't know.

·4· · · · · · Q.· ·National Collegiate Trust, that

·5· · · ·would be a client for Forester, correct?

·6· · · · · · A.· ·That is correct.

·7· · · · · · Q.· ·Okay.· So, this table governed

·8· · · ·media availability requesting for Forester on

·9· · · ·National Collegiate accounts, correct?

10· · · · · · · · ·MR. NOVIKOFF:· Objection.

11· · · · · · A.· ·It would seem to be, yes.

12· · · · · · Q.· ·Okay.· Do you see where there's an

13· · · ·item, Terms Card Member Agreements?

14· · · · · · A.· ·I do.

15· · · · · · Q.· ·Would that terms be a reference to

16· · · ·the terms and conditions of a loan that we

17· · · ·looked at before on the Forester document in

18· · · ·Exhibit 2?

19· · · · · · · · ·MR. NOVIKOFF:· Objection.

20· · · · · · A.· ·I would think so, yes.

21· · · · · · Q.· ·And there's no X marked in that

22· · · ·box, correct?

23· · · · · · A.· ·Oh, in that particular box, I see.

24· · · ·Oh, I see, okay, okay.· No, not on that box.

25· · · ·Not in that box.· I understand.· I see.


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                                                                               YVer1f
   Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 6 of 9
                                Joel Leiderman
                              February 19, 2021

·1· · · · · · · · · · · ·J. Leiderman

·2· · · · · · Q.· ·And there's no X in the box, bill

·3· · · ·of sale/assignment; is that correct?

·4· · · · · · A.· ·That's correct.

·5· · · · · · Q.· ·And there's no box in the chain of

·6· · · ·title areal is that correct?

·7· · · · · · A.· ·Correct.

·8· · · · · · · · ·MR. HAWKINS:· I need to take a two

·9· · · · · · to three-minute break.

10· · · · · · · · ·MR. NOVIKOFF:· Okay.· Let's

11· · · · · · just -- what time is it now, 11:41.

12· · · · · · Want to get back at 11:45?

13· · · · · · · · ·MR. HAWKINS:· Yeah, just a very

14· · · · · · short one.

15· · · · · · · · ·THE COURT REPORTER:· Off the

16· · · · · · record.

17· · · · · · · · ·(Off-the-record discussion was

18· · · · · · held.)

19· · · · · · · · ·THE COURT REPORTER:· Back on the

20· · · · · · record at 11:49 a.m.

21· · · · · · · · ·(JL Exhibit 6, Bronx County Court,

22· · · · · · Civil Court Document, was marked for

23· · · · · · identification.)

24· · · ·BY MR. HAWKINS:

25· · · · · · Q.· ·Mr. Leiderman, ready to resume?


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   Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 7 of 9
                                Joel Leiderman
                              February 19, 2021

·1· · · · · · · · · · · ·J. Leiderman

·2· · · · · · · · ·MR. NOVIKOFF:· Objection.

·3· · · · · · A.· ·No other attorneys could sign them,

·4· · · ·but generally one of those three would be the

·5· · · ·ones who would sign, that's why their names

·6· · · ·are preprinted.

·7· · · · · · Q.· ·Okay.· And what about in 2013?

·8· · · · · · A.· ·I don't know who -- I don't know

·9· · · ·what year Michael Leinoff started with the

10· · · ·firm, but if he was there he probably -- his

11· · · ·name probably would've been on there.· I'm

12· · · ·not sure.

13· · · · · · Q.· ·What about 2015?

14· · · · · · A.· ·I believe he was -- his name was on

15· · · ·there.

16· · · · · · Q.· ·And what about Kevin Knab?

17· · · · · · A.· ·Kevin, I think was an attorney with

18· · · ·the firm during 2013, '14 and '15 I believe.

19· · · · · · Q.· ·Okay.· So, generally speaking,

20· · · ·those three attorneys' names would appear on

21· · · ·complaints in State Court actions where a

22· · · ·trust was a plaintiff; is that right?

23· · · · · · A.· ·Yes.

24· · · · · · Q.· ·Do you understand that a State

25· · · ·Court file similar to this exists for all of


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   Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 8 of 9
                                Joel Leiderman
                              February 19, 2021

·1· · · · · · · · · · · ·J. Leiderman

·2· · · ·the plaintiffs in this federal action?

·3· · · · · · · · ·MR. NOVIKOFF:· Objection.

·4· · · · · · A.· ·Yes, I do.

·5· · · · · · Q.· ·Okay.· And the State Court filings

·6· · · ·look very similar from case to case; is that

·7· · · ·right?

·8· · · · · · · · ·MR. NOVIKOFF:· Objection.

·9· · · · · · A.· ·Yes, I would say similar, yes.

10· · · · · · Q.· ·You talked before about texts being

11· · · ·preprinted on this complaint.

12· · · · · · · · ·Did I understand you right?

13· · · · · · · · ·MR. NOVIKOFF:· Objection.

14· · · · · · A.· ·That the text is preprinted?

15· · · · · · Q.· ·Well, you talked about that the

16· · · ·signature line text was preprinted; is that

17· · · ·right?

18· · · · · · A.· ·Oh, yes.· I see what you're saying,

19· · · ·yes.· The computer is set up to print out the

20· · · ·complaint with those names on it unless

21· · · ·there's a change.· So, if an attorney leaves

22· · · ·and other another is then assigned that task,

23· · · ·it would be programmed to produce different

24· · · ·names.

25· · · · · · Q.· ·What program was it that you're


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   Case 1:18-cv-07692-PGG-BCM Document 243-6 Filed 06/03/21 Page 9 of 9
                                Joel Leiderman
                              February 19, 2021

·1· · · · · · · · · · · ·J. Leiderman

·2· · · ·referring to?

·3· · · · · · A.· ·Well, whatever program it is that

·4· · · ·would make changes on, you know, the -- the

·5· · · ·complaints at the direction of whether it be

·6· · · ·an attorney, partner, manager or whatever.

·7· · · ·So, if somebody left a memo might be given to

·8· · · ·the IT department, please change the name

·9· · · ·from -- just say just remove Joel Leiderman's

10· · · ·name from the Summons and Complaint.

11· · · · · · Q.· ·Okay.· Aside from the signature

12· · · ·area, was other text in this complaint part

13· · · ·of a template that was used?

14· · · · · · A.· ·Yes, that's correct.

15· · · · · · Q.· ·Okay.· So, for example, the first

16· · · ·line above Paragraph 1 and Paragraph 2 --

17· · · ·Paragraph 2, everything except the amount in

18· · · ·Paragraph 4, would that all be preprinted

19· · · ·text for a template?

20· · · · · · A.· ·Yes.

21· · · · · · Q.· ·Who -- who created the language for

22· · · ·the template?

23· · · · · · A.· ·We had general templates for

24· · · ·various clients, depending on the type of an

25· · · ·account that predates even my appearance at


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